Case 0:20-cv-60941-RAR Document 1 Entered on FLSD Docket 05/12/2020 Page 1 of 14



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION

                                              CASE NO.:

  MARGARITA BAZZE,

         Plaintiff,

  v.

  HOLY CROSS HOSPITAL, INC.,
  A Florida Not For Profit Corporation,

        Defendant.
  ____________________________________/

                         COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff, MARGARITA BAZZE (“Ms. Bazze or Plaintiff”) files this Complaint against

  Defendant, HOLY CROSS HOSPITAL, INC., (“Defendant”), and states as follows:

                                          INTRODUCTION

         1.        Plaintiff brings this action pursuant to the Family and Medical Leave Act, as

  amended, 29 U.S.C. § 2601, et seq. (“the FMLA”), Americans with Disabilities Act, 42 U.S.C. §

  12101 et seq, (“ADA”), and Chapter 760 of the Florida Civil Rights Act (“FCRA”) to recover

  from Defendant back pay, an equal amount as liquidated damages, other monetary damages,

  equitable relief, front pay, declaratory relief, compensatory damages, punitive damages, and

  reasonable attorneys’ fees and costs.

                        JURISDICTION, VENUE AND FMLA COVERAGE

         2.        The Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C. § 1337 and

  the FMLA and the authority to grant declaratory relief under the FMLA, and pursuant to 28 U.S.C.

  § 2201 et seq.
Case 0:20-cv-60941-RAR Document 1 Entered on FLSD Docket 05/12/2020 Page 2 of 14



         3.      The Court has jurisdiction over Plaintiff’s ADA claims pursuant to 28 U.S.C. §

  1331 as they arise under 42 U.S.C. § 12101 et seq.

         4.      The Court also has supplemental jurisdiction over Plaintiff’s FCRA claim, as it

  arises out of the same operative facts and circumstances as her FMLA/ADA claims.

         5.      At all times relevant hereto, Plaintiff was an employee of Defendant.

         6.      Plaintiff worked for Defendant in Broward County, Florida, and this venue,

  therefore is proper.

         7.      Defendant is a Florida nonprofit corporation that provides healthcare services in,

  among others, Broward County, Florida, and is therefore within the jurisdiction of the Court.

         8.      At all times relevant hereto, Defendant was an employer covered by the FMLA,

  because it was engaged in commerce or in an industry affecting commerce that employed 50 or

  more employees within 75 miles of where Plaintiff worked, for each working day during each of

  20 or more calendar workweeks, prior to seeking leave under the FMLA.

         9.      At all times relevant hereto, Plaintiff was an employee entitled to leave under the

  FMLA, based on the fact that she: (a) suffered from a serious health condition as defined by the

  FMLA which necessitated FMLA leave; and (b) was employed by Defendant for at least 12 months

  and worked at least 1,250 hours during the relevant 12-month period prior to her seeking to

  exercise her rights to FMLA leave.

         10.     Plaintiff is a disabled female. At all times material, Plaintiff was protected during

  her employment with Defendant by the FCRA and ADA because:

                 a.      Plaintiff was a disabled or “perceived as disabled” employee who suffered

                 discrimination and harassment because of her disability or “perceived disability” by

                 Defendant; and




                                                   2
Case 0:20-cv-60941-RAR Document 1 Entered on FLSD Docket 05/12/2020 Page 3 of 14



                  b.       Plaintiff suffered adverse employment action and was subjected to an

                  increasingly hostile work environment as a result of her disability or “perceived

                  disability.”

          11.     Defendant was at all times an “employer” as envisioned by the ADA as well as

  §760.02(7), Fla. Stat.

                                     CONDITIONS PRECEDENT

          12.     On or around July 16, 2018, Plaintiff dual filed a Charge of Discrimination with the

  U.S. Equal Employment Opportunity Commission (“EEOC”) and Florida Commission on Human

  Relations (“FCHR”) alleging disability discrimination and retaliation against Defendant.

          13.     More than 180 days have passed since the filing of the Charge of Discrimination.

          14.     On February 18, 2020, the EEOC mailed Plaintiff a Notice of Right to Sue against

  Defendant, giving Plaintiff the right to bring a civil action on his claims within 90 days of his receipt

  of the same.

          15.     Plaintiff timely files this action within the applicable period of limitations against

  Defendant.

          16.     All conditions precedent to this action have been satisfied and/or waived.

                                     FACTUAL ALLEGATIONS

          17.     Plaintiff worked as a Hospitality Concierge/ Patient Services for the Defendant

  from September 2011, until her wrongful termination on May 15, 2018.

          18.     Ms. Bazze was an excellent employee with no significant history of performance,

  attendance or disciplinary issues, and who constantly received praise for her performance

  throughout her tenure.




                                                     3
Case 0:20-cv-60941-RAR Document 1 Entered on FLSD Docket 05/12/2020 Page 4 of 14



         19.     Unfortunately, Plaintiff suffers from severe epilepsy, which is a protected disability

  under the FCRA/ADA, and a serious health condition under the FMLA.

         20.     Further, in December 2017, Ms. Bazze experienced an unexpected epileptic seizure

  which caused a severe shoulder injury, for which is a serious health condition under the FMLA

  due to her required surgery.

         21.     On February 16, 2018, Ms. Bazze advised Holy Cross Director, Dr. Manuel

  Mantecon (“Dr. Mantecon”), and Human Resources, of her upcoming shoulder surgery and

  requested medical leave for same.

         22.     At Dr. Mantecon’s direction, Ms. Bazze emailed Employee Health staff and Dr.

  Mantecon, and provided her upcoming surgery date. However, as the surgery date neared, Ms.

  Bazze’s health deteriorated and she was no longer medically fit to undergo surgery on the

  scheduled date. As such, Ms. Bazze’s surgery was rescheduled for a later date

         23.     On March 19, 2018, Ms. Bazze provided Dr. Mantecon with the requisite FMLA

  paperwork.

         24.     To her surprise, Dr. Mantecon responded in an aggressive and intimidating manner,

  and alleged that Ms. Bazze failed to provide him adequate notice regarding medical leave.

         25.     This demeaning/aggressive conduct toward Ms. Bazze, immediately after Ms.

  Bazze provided him with FMLA paperwork, unquestionably amounts to unlawful interference and

  retaliation under the FMLA.

         26.     Ms. Bazze, nonetheless, applied for, and was approved for FMLA leave beginning

  March 23, 2018, and she returned to work on April 30, 2018.




                                                   4
Case 0:20-cv-60941-RAR Document 1 Entered on FLSD Docket 05/12/2020 Page 5 of 14



         27.     Prior to her official return to work date, Ms. Bazze met with Employee Health on

  April 27, 2018, at which time she was cleared to return to work on April 30, 2018; Ms. Bazze

  provided Holy Cross with a doctor’s note and confirmed her return three (3) days later.

         28.     Immediately upon her return, Ms. Bazze was met with disdain and hostility; Dr.

  Mantecon’s first words to Ms. Bazze were “I did not clear you, you are using a sling, go to

  Employee Health.”

         29.     Accordingly, Ms. Bazze went to Employee Health and requested a workplace

  accommodation that would allow her to return to work, with her post-surgical restrictions. In

  response, Ms. Bazze was told that Holy Cross was under no obligation to provide workplace

  accommodations since her injury did not occur at work.

         30.     An employer is required to provide its disabled with a reasonable accommodation,

  if that reasonable accommodation would allow that employee to perform the essential functions of

  his job, unless doing so would impose an undue hardship. Smith v. Avatar Properties, Inc., 714

  So. 2d 1103, 1107 (Fla. 5th DCA 1998).

         31.     Ms. Bazze is an individual with a disability who, with minimal reasonable

  accommodation, was fully capable of performing the essential functions of her job as a Hospitality

  Concierge/ Patient Services.

         32.     This accommodation would have imposed no undue hardship on Defendant.

         33.     Initially, Ms. Bazze was denied her requested reasonable accommodation, in

  violation of the ADA/FCRA.

         34.     By reason of the foregoing, Defendant’s actions, and non-actions, affected the

  “terms, conditions or privileges” of Plaintiff’s employment as envisioned by the ADA and the

  Florida Civil Rights Act.




                                                  5
Case 0:20-cv-60941-RAR Document 1 Entered on FLSD Docket 05/12/2020 Page 6 of 14



          35.     “Reasonable accommodation” under the ADA may include “job restructuring, part-

  time or modified work schedules, reassignment to a vacant position, acquisition or modification

  of equipment or devices . . .and other similar accommodations.” 42 U.S.C. § 12111(9)(B)

          36.     During the months leading to her termination, Ms. Bazze was treated in a

  discriminatory/retaliatory manner and she ultimately was terminated as a result, on May 15, 2018.

          37.     Defendant’s termination of Ms. Bazze stemmed from its discriminatory animus

  toward her use of FMLA leave and need for accommodation under the ADA/FCRA.

          38.     The timing of her termination makes the causal connection between her use of

  FMLA, her request for reasonable accommodations under the ADA/FCRA, and her termination

  sufficiently clear.

          39.     As a result of the foregoing, Defendant interfered with Plaintiff’s FMLA rights.

          40.     Also, as a result of the foregoing, Defendant retaliated against Plaintiff for

  attempting to utilize and/or utilizing proper and authorized FMLA leave.

          41.     Any other reason given for Plaintiff’s termination is a pretext, designed to cover up

  FMLA interference and retaliation and disability discrimination and retaliation.

          42.     Defendant did not have a good faith basis for its actions.

          43.     Defendant’s actions are the exact type of unfair and retaliatory employment

  practices the ADA, FCRA, and FMLA were intended to prevent.

          44.     Additionally, the facts surrounding Plaintiff’s termination also create a strong

  inference of disability discrimination/retaliation in violation of the ADA/FCRA.

          45.     The Defendant was aware of Plaintiff’s ADA/FCRA-protected medical condition

  and need for accommodation.




                                                    6
Case 0:20-cv-60941-RAR Document 1 Entered on FLSD Docket 05/12/2020 Page 7 of 14



         46.     Defendant, however, being well-aware of Plaintiff’s condition, discriminated

  against Plaintiff for taking FMLA leave to seek treatment and for requesting reasonable

  accommodations.

         47.     In short, despite the availability of reasonable accommodation under the ADA and

  FCRA, Defendant discriminated against Ms. Bazze based solely upon her disability.

         48.     At all material times hereto, Plaintiff was ready, willing and able to perform her job

  duties and otherwise qualified for her position, with “reasonable accommodation.”

         49.     Defendant perceived Plaintiff as being “disabled,” and therefore, unable to perform

  the essential functions of her position, despite the fact that Plaintiff could perform same with

  reasonable accommodation.

         50.     Pleading in the alternative, Plaintiff’s impairment did not substantially limit a major

  life activity but was treated by Defendant as if it did.

         51.     Pleading in the alternative, Plaintiff’s medical condition constituted an impairment

  that limited a major life activity only because of Defendant’s attitude toward the impairment.

         52.     Pleading in the alternative, Plaintiff had no impairment, whatsoever, but was treated

  by Defendant as having a disability as recognized by the ADA.

         53.     Plaintiff was a disabled individual, or otherwise perceived as disabled by

  Defendant, during her employment. Therefore, she is protected class member as envisioned by

  the ADA and the Florida Civil Rights Act.

         54.     Plaintiff suffered sufficiently severe and pervasive treatment, and ultimate

  termination, because of her disability and/or “perceived disability.”

         55.     As a result of this illegal conduct, Plaintiff has suffered damages, including loss of

  employment, wages, benefits, and other remuneration to which she is entitled.




                                                     7
Case 0:20-cv-60941-RAR Document 1 Entered on FLSD Docket 05/12/2020 Page 8 of 14



                                     COUNT I
                      UNLAWFUL INTERFERENCE UNDER THE FMLA

         56.     Plaintiff reincorporates and readopts all allegations contained within Paragraphs 1,

  2, 5-9, 17-26, 36-43, 46, and 55 above.

         57.     At all times relevant hereto, Plaintiff was protected by the FMLA.

         58.     At all times relevant hereto, Defendant interfered with Plaintiff by having an

  aggressive and hostile demeanor in response to Plaintiff’s request and use of FMLA.

         59.     At all times relevant hereto, Plaintiff was protected from interference under the

  FMLA.

         60.     As a result of Defendant’s willful and unlawful acts by interfering with Plaintiff for

  exercising her rights pursuant to the FMLA, Plaintiff has suffered damages and incurred

  reasonable attorneys’ fees and costs.

         61.     As a result of Defendant’s willful violation of the FMLA, Plaintiff is entitled to

  liquidated damages.

         WHEREFORE, Plaintiff demands judgment against Defendant for back pay, an equal

  amount as liquidated damages, other monetary damages, equitable relief, declaratory relief,

  reasonable attorneys’ fees and costs, and any and all further relief that this Court determines to be

  just and appropriate.

                                       COUNT II
                          UNLAWFUL RETALIATION UNDER THE FMLA

         62.     Plaintiff reincorporates and readopts all allegations contained within Paragraphs 1,

  2, 5-9, 17-26, 36-43, 46, and 55 above.

         63.     At all times relevant hereto, Plaintiff was protected by the FMLA.




                                                   8
Case 0:20-cv-60941-RAR Document 1 Entered on FLSD Docket 05/12/2020 Page 9 of 14



         64.     At all times relevant hereto, Defendant retaliated against Plaintiff by firing her for

  her attempted use and/or use of FMLA protected leave.

         65.     At all times relevant hereto, Plaintiff was protected from retaliation under the

  FMLA.

         66.     At all times relevant hereto, and for purposes of the FMLA retaliation claim,

  Defendant acted with the intent to retaliate against Plaintiff, because Plaintiff exercised her rights

  to take approved leave pursuant to the FMLA.

         67.     As a result of Defendant’s intentional, willful and unlawful acts by retaliating

  against, Plaintiff for exercising her rights pursuant to the FMLA, Plaintiff has suffered damages

  and incurred reasonable attorneys’ fees and costs.

         68.     As a result of Defendant’s willful violation of the FMLA, Plaintiff is entitled to

  liquidated damages.

         WHEREFORE, Plaintiff demands judgment against Defendant for back pay, an equal

  amount as liquidated damages, other monetary damages, equitable relief, declaratory relief,

  reasonable attorneys’ fees and costs, and any and all further relief that this Court determines to be

  just and appropriate.

                                  COUNT III
               DISCRIMINATION UNDER THE ADA BASED ON DISABILITY

         69.     Plaintiff realleges and adopts the allegations contained in paragraphs 1, 2, 4-7, 10-

  16, 19, 21, 22, 27-38, 41-55 above.

         70.     The acts of Defendant, by and through its agents and employees, violated Plaintiff’s

  rights against disability discrimination under the ADA.

         71.     The discrimination to which Plaintiff was subjected was based on her disability

  and/or “perceived disability.”



                                                    9
Case 0:20-cv-60941-RAR Document 1 Entered on FLSD Docket 05/12/2020 Page 10 of 14



          72.     Plaintiff has suffered damages as a result of Defendant’s illegal conduct toward her.

          73.     The conduct of Defendant was so willful, wanton, and in reckless disregard of the

  statutory rights of Plaintiff, as to entitle her to an award of punitive damages against Defendant, to

  deter it, and others, from such conduct in the future.

          74.     Plaintiff is entitled to recover reasonable attorneys’ fees and litigation expenses

  pursuant to 42 U.S.C. § 12205.

          WHEREFORE, Plaintiff requests a judgment in her favor and against Defendant for her

  actual and compensatory damages, including, but not limited to, front pay, back pay, emotional

  distress damages, and punitive damages, as well as her costs and attorneys’ fees, declaratory and

  injunctive relief, and such other relief as is deemed proper by this Court.

                                    COUNT IV
                  RETALIATION UNDER THE ADA BASED ON DISABILITY

          75.     Plaintiff realleges and adopts the allegations contained in paragraphs 1, 2, 4-7, 10-

  16, 19, 21, 22, 27-38, 41-55 above.

          76.     Plaintiff was terminated within close temporal proximity of her objection to

  Defendant that she felt she was being discriminated against based on her disability.

          77.     Plaintiff’s objections constituted protected activity under the ADA.

          78.     Plaintiff was terminated as a direct result of her objections to what she reasonably

  believed to be disability discrimination.

          79.     Plaintiff’s objections to Defendant’s illegal conduct, and her termination, are

  causally related.

          80.     Defendant’s stated reasons for Plaintiff’s termination are a pretext.

          81.     The conduct of Defendant and its agents and employees proximately, directly, and

  foreseeably injured Plaintiff, including, but not limited to, lost wages and benefits, future pecuniary



                                                    10
Case 0:20-cv-60941-RAR Document 1 Entered on FLSD Docket 05/12/2020 Page 11 of 14



  losses, emotional pain and suffering, humiliation, inconvenience, mental anguish, loss of

  enjoyment of life, and other non-pecuniary losses.

          82.     The conduct of Defendant was so willful and wanton, and in such reckless disregard

  of the statutory rights of Plaintiff, as to entitle her to an award of punitive damages against

  Defendant, to deter it and others from such conduct in the future.

          83.     Plaintiff has no plain, adequate, or complete remedy at law for the actions of

  Defendant which have caused, and continue to cause, irreparable harm.

          WHEREFORE, Plaintiff requests a judgment in her favor and against Defendant for her

  actual and compensatory damages, including, but not limited to, front pay, back pay, emotional

  distress damages, and punitive damages, as well as her costs and attorneys’ fees, declaratory and

  injunctive relief, and such other relief as is deemed proper by this Court.

                                COUNT V
       DISCRIMINATION UNDER THE FLORIDA CIVIL RIGHTS ACT BASED ON
                              DISABILITY

          84.     Plaintiff realleges and adopts the allegations contained in paragraphs 1, 2, 4-7, 10-

  16, 19, 21, 22, 27-38, 41-55 above.

          85.     The acts of Defendant, by and through its agents and employees, violated Plaintiff’s

  rights against disability discrimination under the Florida Civil Rights Act, Chapter 760, Florida

  Statutes.

          86.     The discrimination to which Plaintiff was subjected was based on her

  disability/handicap, or “perceived disability.”

          87.     The conduct of Defendant and its agents and employees proximately, directly, and

  foreseeably injured Plaintiff, including, but not limited to, lost wages and benefits, future pecuniary




                                                    11
Case 0:20-cv-60941-RAR Document 1 Entered on FLSD Docket 05/12/2020 Page 12 of 14



  losses, emotional pain and suffering, humiliation, inconvenience, mental anguish, loss of

  enjoyment of life, and other non-pecuniary losses.

          88.     The conduct of Defendant was willful, wanton, and in reckless disregard of the

  statutory rights of Plaintiff, as to entitle her to an award of punitive damages against Defendant, to

  deter it, and others, from such conduct in the future.

          89.     Plaintiff is entitled to recover reasonable attorneys’ fees and litigation expenses

  pursuant to section 760.11(5), Florida Statutes.

          90.     Plaintiff has no plain, adequate or complete remedy at law for the actions of

  Defendant, which have caused, and continue to cause, irreparable harm.

          WHEREFORE, Plaintiff requests a judgment in her favor and against Defendant for her

  actual and compensatory damages, including, but not limited to, front pay, back pay, emotional

  distress damages, and punitive damages, as well as her costs and attorneys’ fees, declaratory and

  injunctive relief, and such other relief as is deemed proper by this Court.

                                COUNT VI
         RETALIATION UNDER THE FLORIDA CIVIL RIGHTS ACT BASED ON
                               DISABILITY

          91.     Plaintiff realleges and adopts the allegations contained in paragraphs 1, 2, 4-7, 10-

  16, 19, 21, 22, 27-38, 41-55 above.

          92.     Plaintiff was terminated within close temporal proximity of her objection to

  Defendant that she felt she was being discriminated against based on her disability/handicap.

          93.     Plaintiff’s objections constituted protected activity under the FCRA.

          94.     Plaintiff was terminated as a direct result of her objections to what she reasonably

  believed to be disability discrimination.




                                                     12
Case 0:20-cv-60941-RAR Document 1 Entered on FLSD Docket 05/12/2020 Page 13 of 14



          95.     Plaintiff’s objections to Defendant’s illegal conduct, and her termination, are

  causally related.

          96.     Defendant’s stated reasons for Plaintiff’s termination are a pretext.

          97.     The conduct of Defendant and its agents and employees proximately, directly, and

  foreseeably injured Plaintiff, including, but not limited to, lost wages and benefits, future pecuniary

  losses, emotional pain and suffering, humiliation, inconvenience, mental anguish, loss of

  enjoyment of life, and other non-pecuniary losses.

          98.     The conduct of Defendant was so willful and wanton, and in such reckless disregard

  of the statutory rights of Plaintiff, as to entitle her to an award of punitive damages against

  Defendant, to deter it and others from such conduct in the future.

          99.     Plaintiff is entitled to recover her reasonable attorneys’ fees and litigation expenses

  pursuant to Section 760.11(5), Florida Statutes.

          100.    Plaintiff has no plain, adequate, or complete remedy at law for the actions of

  Defendant which have caused, and continue to cause, irreparable harm.

          WHEREFORE, Plaintiff requests a judgment in her favor and against Defendant for her

  actual and compensatory damages, including, but not limited to, front pay, back pay, emotional

  distress damages, and punitive damages, as well as her costs and attorneys’ fees, declaratory and

  injunctive relief, and such other relief as is deemed proper by this Court.

                                    DEMAND FOR JURY TRIAL

          Plaintiff hereby demands a trial by jury on all issues so triable.

  DATED this 12th day of May 2020.

                                                          Respectfully Submitted,




                                                     13
Case 0:20-cv-60941-RAR Document 1 Entered on FLSD Docket 05/12/2020 Page 14 of 14



                                     By: /s/ Noah Storch
                                     Noah E. Storch, Esq.
                                     Florida Bar No. 0085476
                                     RICHARD CELLER LEGAL, P.A.
                                     10368 W. SR 84, Suite 103
                                     Davie, Florida 33324
                                     Telephone: (866) 344-9243
                                     Facsimile: (954) 337-2771
                                     E-mail: noah@floridaovertimelawyer.com




                                       14
